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                                                                               December 5,2 015.
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                    8                             UNITED STATES DISTRICT COURT
                    9                           CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11      TED CHAVEZ, individually and on behalf    Case No. 2:15-cv-04736-SJO-PJW
                 12      of all others similarly situated,         xxxxxxxxxxxxxxxxxx ORDER
                                                                   [PROPOSED]
                                                                   GRANTING STIPULATION TO
                 13                            Plaintiff,          DISMISS COMPLAINT WITH
                                                                   PREJUDICE
                 14                       v.

                 15      AIR PRODUCTS AND CHEMICALS,
                         INC., and DOES 1 through 10, inclusive,
                 16
                                               Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                        DB1/ 85484459.1
            Case 2:15-cv-04736-SJO-PJW Document 21 Filed 12/05/15 Page 2 of 2 Page ID #:141



                    1             Having read and considered the Parties’ Stipulation to Dismiss Complaint
                    2    with Prejudice, and finding good cause therefore, the Court hereby grants the
                    3    Stipulation and orders follows:
                    4             1.      The above-captioned action is dismissed with prejudice as to
                    5                     Plaintiff’s individual claims raised in this lawsuit.
                    6             2.      The Parties shall bear their own costs and attorneys’ fees.
                    7             3.      Dismissal of this action shall not affect and is not binding on
                    8                     Plaintiff’s claims presently raised in Ted Chavez, Jr. v. Air Products
                    9                     and Chemicals, Inc., Case No. 2:14-cv-06360-BRO-PJW, currently
                 10                       pending before the United States District Court, Central District of
                 11                       California.
                 12      IT IS SO ORDERED.
                 13
                                 December 5, 2015
                 14      Dated: _________________ 2015
                                                                            Hon. S. James Otero
                 15                                                         U.S. District Court Judge
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